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THE HONORABLE ROBERT S. LASNIK

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, ) No. CR19-159-RSL
)
Plaintiff, )
) ~PROPOSEDY ORDER FOR
V. ) BRIEFING SCHEDULE
)
PAIGE THOMPSON, )
)
Defendant. )
)

 

 

 

The Court has considered Ms. Thompson’s unopposed motion for a briefing
schedule to review the detention orders filed in this case and finds there are compelling
reasons to grant the motion:

IT IS NOW ORDERED that counsel for Ms. Thompson may file an opening
brief by September 13, 2019, the government may respond by September 20, 2019, and
the defense may reply oy September 23, 2019.

DATED this & day of September 2019.

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ROBERT S. LASNIK.
UNITED STATES DISTRICT JUDGE

Presented by:

s/ Mohammad Ali Hamoudi

s/ Christopher Sanders

Assistant Federal Public Defenders
Attorneys for Paige Thompson

FEDERAL PUBLIC DEFENDER

ORDER FOR BRIEFING SCHEDULE 1601 Fifth Avenue, Suite 700

(Paige Thompson, CR19-159-RSL) - 1 Seattle, WA 98101
(206) 553-1100

 
